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Exhibit 2
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UNITED STATES DISTRICT COURT

for the
District of Maryland
David J. Boshea,
Plaintiff
v. Civil Action No.

1-21-CV-00309-ELH

Compass Marketing, Inc.,
Defendant

 

NONPARTY DANIEL WHITE’S AFFIDAVIT

 

1. Iam over eighteen years of age and competent to testify as set forth herein.

2. I am a 25% shareholder of Compass Marketing, Inc. (“Compass”). Michael
White and John White are my brothers and the only other legitimate directors and
shareholders of Compass.

3. My brother John White and I founded Compass in 1998, a manufacturers’
representative that partners with various brands of consumer goods to obtain brand
presence in retail and specialty marketplaces.

4. Ownership of Compass is as follows: John White owns 300 shares or 50%, Daniel
White owns 150 shares or 25%, and Michael White owns 150 shares or 25%.

5. At its height, in or about 2014, Compass received commission-based revenues of

over $18,000,000, and had approximately 70 employees.
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6. Iam also a shareholder of Tagnetics, Inc. (“Tagnetics”), a Delaware company that
made electronic shelf price tags for retail business. I own 300 shares of approximately
8,000,000 authorized shares.

7. There has not been a meeting of the shareholders of Tagnetics in nearly 10 years.
Tagnetics has been insolvent since 2016, at least.

8. In or about October 2018, I discovered that John White was falsely claiming that
Tagnetics was a subsidiary of Compass, and had been leveraging Compass’ financial
resources, reputation and goodwill to induce investments and partnerships with
Tagnetics.

9. In or about April 2019, I reported to the United States Securities and Exchange
Commission that I believed that the management of Tagnetics was engaged in securities
fraud.

10. In or about April 2019, attorney Stephen B. Stern (“Stern”) agreed with John
White to surreptitiously start a business named Smart Retail, Inc. (“Smart Retail”), using
assets of Compass and Tagnetics.

11.In or about May 2019, John White and his new business partners, including
attorney Stern, wrongfully locked me out of Compass and took control of Compass.

12.In or about June 2019, John White and attorney Stern used approximately
$100,000 in Compass funds to pay off disgruntled investors and bankruptcy creditors of
Tagnetics, laundering the funds through attorney Stern’s client escrow account.

13. In or about July 2019, John White and attorney Stern convinced the Directors for

Tagnetics to authorize John White to declare bankruptcy on behalf of Tagnetics.
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14.In or about July 2019 John White and attorney Stern agreed to settle with
additional disgruntled Tagnetics shareholders and bankruptcy creditors, knowing that
Tagnetics had no bank accounts, no funds, no employees, no revenues and no means to
pay those sums except with Compass funds.

15. In or about August 2019, John White and attorney Stern did in fact surreptitiously
establish Smart Retail, Inc. in Wyoming, using assets of Compass and Tagnetics.

16. In or about October 2019, in federal bankruptcy court in Ohio, attorney Stern
testified as the sole witness to the July 2019 that he (attorney Stern) had settled with
numerous disgruntled Tagnetics investors and bankruptcy creditors, and later with the
assistance of John White caused settlement payments to be made with Compass funds.

17.1 did not approve or consent to the engagement of Stephen Stern on behalf of
Compass in this instant case, Boshea v. Compass 1-21-CV-00309-ELH, or in any other
matter, and object to such representation.

18. I have not and do not waive any conflicts of interest created by Mr. Stern’s

representation of Compass in this instant case, Boshea v. Compass, or in any other matter.

* * *

I SOLEMNLY AFFIRM UNDER THE PENALTIES OF PERJURY AND
UNDER OATH THAT THE CONTENTS OF THE FOREGOING AFFIDAVIT ARE
TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE, INFORMATION,

AND BELIEF.

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Date
